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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,                         :
                                                  :
v.                                                :                   3:13-cr-00145-WWE
                                                  :
CARLOS PADILLA.                                   :

     MEMORANDUM OF DECISION ON DEFENDANT’S MOTION TO REDUCE
                           SENTENCE

       Defendant Carlos Padilla has filed a request seeking a reduction of his 84 month sentence

due to changes to the Sentencing Guidelines. For the following reasons, defendant’s motion will

be denied.

       At sentencing, defendant’s guideline range was 97 to 121 months. Under the new

Guidelines, defendant’s guideline range is 78 to 97 months. However, in this case, defendant has

already benefitted from the changes to the Guidelines, as such changes were anticipated by the

parties and implemented by the Court during Padilla’s sentencing. Accordingly, resentencing in

this case would be unproductive, as the Court would have no basis to alter defendant’s 84 month

sentence. Moreover, defendant explicitly waived his right to challenge his sentence on the basis

of the anticipated guideline range reduction.

       During defendant’s sentencing hearing on July 14, 2014, defendant and the Government

entered into a written amendment to the previously filed plea agreement which was filed and

accepted by the Court. See ECF No. 99. That agreement provided:

       The parties acknowledge that the United States Sentencing Commission has proposed
       an amendment to this section of the Guidelines applicable in this case (79 Fed. Reg.
       3279 (Jan. 17, 2014)), which would reduce the defendant’s base offense level for this
       offense to 27. This amendment, if adopted, would formally take effect on November
       1, 2014. Nonetheless, the government, as a matter of policy, agrees to incorporate this
       proposed reduction into the previously entered plea agreement, thus making the
       defendant’s total offense level 27. The defendant agrees that if the United States
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       Sentencing Commission does adopt the proposed amendment referenced above, the
       reduction is already incorporated into this plea agreement and the defendant will not
       be able to ask for a further two point reduction due to any such amendment to the
       Sentencing Guidelines.

ECF No. 99 at 1.

       As defendant’s sentence contemplated the guideline range resulting from the Amendment

at issue, and defendant waived his ability to ask for a further reduction in sentence, defendant’s

motion will be denied.

       Dated this 2nd day of May, 2016, at Bridgeport, Connecticut.



                                      /s/Warren W. Eginton
                                      WARREN W. EGINTON
                                      SENIOR UNITED STATES DISTRICT JUDGE




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